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                         UNITED STATES BANKRUPTCY COURT - DISTRICT OF HAWAII
 Debtor: Ruben Ulep Ambrocio               Social Security No.:
                                                                              xxx-xx-6414
 Joint Debtor: Judy Acoba Ambrocio                                            Social Security No.:
 (if any)                                                                     xxx-xx-1181
 Address:                                                                                                         Chapter 13
 1143 Pinkham St                                                                                                  Case No.:
 Honolulu HI
 96819-0000

           CHAPTER 13 PLAN                               Dated: September 16, 2014                                    Amended Plan

                                                                NOTICE
 This plan may significantly affect the rights of creditors. If you wish to oppose confirmation of the plan or any related motion to
 value collateral or to avoid a lien ("plan motion"), you must file a timely written objection. Creditors will receive separate notice of
 the deadline for objections and the date of the confirmation hearing. If you do not file a timely objection, you will have accepted the
 treatment proposed in the plan. If no one files a timely objection, the court may cancel the confirmation hearing, confirm this plan,
 and grant any plan motions.

                                                                    SECTION 1 - PLAN SUMMARY
                                                                                         1.06 Estimated payment of unsecured claims (%) 4
 1.01 Monthly payment                                                      $500.00*

                                                                                   60                                   Under plan          Chapter 7 liquidation
 1.02 Duration (months)
                                                                                                                                     4%                             0%
 1.03 Total monthly payments (1.01 x 1.02)                                         $30,000.00
                                                                                                               1.07                  If checked, there are plan
 1.04 Additional funding described in section 8 (if any)                           $0.00
                                                                                                                                     motions to value collateral or to
 1.05 Total plan funding before tax refunds (1.03 + 1.04)                          $231,600.00                                       avoid lien(s).

                                                             SECTION 2 - PAYMENTS TO TRUSTEE
 2.01 Commencement of Payments. Debtor shall make the first monthly payment stated in section 1 to Trustee not later than 30
 days after the filing of (a) the petition or (b) the order converting the case from another chapter.

 2.02 Completion of Payments. Unless section 8 provides otherwise, payments under the plan will be complete upon payment of the
 amount stated in section 1.05 plus contribution of any tax refunds as provided in section 2.03.

 2.03 Tax Refunds. In addition to the plan payments set forth in sections 1.03 and 1.04, Debtor shall turn over to Trustee all tax
 refunds attributable to prepetition periods and all tax refunds attributable to postpetition periods ending before the full amount stated
 in section 1.05 has been paid, except to the extent that a refund is (a) exempt, (b) received on account of a child tax credit or earned
 income credit, (c) subject by law to setoff, recoupment, or similar disposition, or (d) otherwise provided for in section 8.

 2.04 Funds Other than Disposable Income. Any additional funding listed in section 1.04 must be described in section 8, including
 the source, amount, and date when such funds or assets will be available.

 2.05 Payment of Debtor’s Attorney Fees. Trustee shall pay Debtor’s attorney fees and costs out of the plan funding.
                                                      Total fees                   Paid prepetition              To be paid via plan
  Unless stated otherwise in section 8, Debtor’s
  attorney elects the award and allowance of fees $4,850.00                        $1,600.00                     $3,250.00
  through plan confirmation, to be determined
  under the Chapter 13 Attorney Fee Guidelines.
  (Amount of fees may be adjusted at time of
  confirmation in accordance with the Guidelines.)
 2.06 Pre-Confirmation Adequate Protection Payments and Payments to Lessors.
           If checked, Trustee shall make adequate protection or lease payments under 11 U.S.C. § 1326(a)(1) (B) or (C) to the
           parties listed below. Trustee shall make the payments below as soon as practicable after the creditor or lessor files a proof
           of claim. After confirmation, Trustee shall make distributions as provided elsewhere in this plan. The adequate protection
           payment amount shall be as indicated below. If no payment amount is indicated below, the adequate protection payment
           amount shall be two percent of the estimated value of the collateral, unless section 8 provides otherwise.
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                   Creditor/Lessor               Property description (& est. value if adequate protection )            Mo. Pmt.
 -NONE-                                          at an est. value of
               If checked, Debtor shall make adequate protection / lease payments directly to the payee and provide evidence of payment
               to Trustee.
                                                           SECTION 3 - CLAIMS
 3.01 Proofs of Claim. All creditors, including secured creditors, must file a proof of claim in order to receive payments from
 Trustee, even if this plan mentions their claim. Unless the court orders otherwise, Trustee shall make distributions only on timely
 filed proofs of claim. Trustee may rely on the face of the proof of claim despite any other information contained in any attachments
 thereto.

 3.02 Determination of Claims. The proof of claim (and any court order disposing of a plan motion or any objection to the claim),
 not this plan or the schedules, shall determine the amount, classification, and priority of each claim. The information about claims in
 this plan (other than the classification of claims in Class 6) is provided for informational purposes only and is not binding on any
 party.

 3.03 Secured Claims – Limited Stay Relief. Notwithstanding 11 U.S.C. § 362, any secured creditor may transmit to the debtor
 payment coupon books, notices of payment changes or interest rate changes, escrow account statements, and other statements, and
 may continue any electronic funds transfer ("EFT") payment arrangements that Debtor validly authorized prepetition, on the
 condition that such creditor promptly files with the court all such notices and statements (in accordance with any rules for privacy
 protection).
                                                         SECTION 4 - CLASSIFICATION OF CLAIMS
 4.01 Class 1 consists of secured claims where (a) Debtor was in default on the petition date and (b) the claimant's rights are
 not modified by the plan, except for the curing of the default. A holder of a Class 1 claim will retain its lien until the underlying
 debt is paid in full under nonbankruptcy law. This plan does not modify the holder's rights other than by curing the default by paying
 the prepetition arrearage, i.e. the regular installments of principal, accrued and unpaid interest and other charges, such as attorney
 fees and collection costs, that became due before the petition date.

 4.01-1 Cure Payments by Trustee. Unless the claim holder agrees to different treatment, Trustee shall make distributions to cure
 the prepetition arrearage on each Class 1 claim by making monthly payments that include the interest on the prepetition arrearage at
 the standard interest rate described in section 7.03, unless a different rate is stated in the table below. Each Class 1 claimant shall
 apply such payments only to the prepetition arrearage. The amount of any prepetition arrearage is the amount to a claimant's proof of
 claim, unless the court orders otherwise. Trustee shall make no payment on a Class 1 claim to a claimant whose proof of claim states
 that an arrearage is $0.00, none, or the like, or if the arrearage amount is left blank. Treatment of a prepetition arrearage under an
 unexpired lease or executory contract is provided for in section 4.08. Trustee's payment of the full amount of the arrearage stated on
 the claimant's proof of claim will bar the claimant from asserting that the prepetition default has not been cured.

 4.01-2 Maintenance Payments by Debtor. Except for any Class 1 claimants identified by checked box in the table below, Debtor
 shall pay directly to the Class 1 claimants (or their agents) each payment first becoming due without acceleration after the petition
 date ("postpetition installments") as and when due under the applicable agreement and applicable law.
 4.01-3 Maintenance Payments by Trustee. From the plan funding, Trustee shall pay all postpetition installments due to Class 1
 claimants identified by a checked box in the table below, as and when due under the applicable agreement and applicable law, and
 Trustee shall promptly remit the same to the Class 1 claimant.
 4.01-4 Application and Calculation of Postpetition Installments. Class 1 claimants shall apply payments under paragraph 4.01-2
 and 4.01-3 only to the postpetition installments. The amount of the postpetition installments shall be determined as if the claim was
 not in default on the petition date.
                                                                          Maturity                          Interest
                        Class 1 Creditor/Collateral                          date        Est. arrearage       rate      Est. mo. pmt.
 Principal Residence:
 -NONE-
 Other Property:                                                                           $170,560.41       6.375            3,937.53
    IndyMac Bank/OneWest Bank/personal residence located at
 1143 Pinkham St, Honolulu, HI 96819
 Zillow valuation: $846,000
 -8% cost of sale: $67,680
 FMV: $778,320
 If box checked above, Trustee makes payments under section
 4.01-3.
 [Continue in section 8 or on continuation sheet as necessary.]

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 4.02 Class 2 consists of secured claims where the rights of the holder of a secured claim are modified by the plan under 11
 U.S.C. § 1322(b)(2) or (c)(2). A holder of a Class 2 claim will retain its lien until the earlier of (a) full payment of the underlying
 debt under nonbankruptcy law or, (b) if the court enters an order determining the value of collateral securing a claim, full payment of
 the secured portion of the claim amount and entry of the Debtor’s discharge under 11 U.S.C. § 1328. Unless the claim holder agrees
 to different treatment, Trustee shall make distributions to pay a Class 2 claim in a monthly amount that includes interest on the claim
 at the standard interest rate described in section 7.03, unless a different rate is stated in the table below. If Debtor believes that the
 value of a creditor’s collateral is less than the amount of the claim, Debtor must file a Motion to Value Collateral in connection with
 this plan. If the total amount of the claim exceeds the value of the collateral as determined by the court, the deficiency will be treated
 as a Class 7 general unsecured claim (or a Class 5 claim if the claim is entitled to priority).
                                                                                    §506(a)             Maturity                            Interest
                     Class 2 Creditor/Collateral                                    applies?             date             Est. claim amt.     rate      Est. mo. pmt.
 -NONE-                                                                                                                                        %
 [Continue in section 8 or on continuation sheet as necessary.]

 4.03 Class 3 consists of secured claims that are satisfied by surrender of collateral. Trustee shall make no distributions on a
 Class 3 claim if the debtor files a declaration, with proof of service on the creditor, within 14 days after the entry of an order
 confirming this plan, that the real or personal property described below has been surrendered or offered for surrender to the creditor.
 A secured creditor listed in Class 3 wishing to refuse Debtor’s surrender of collateral in full or partial satisfaction of its claim must
 file a written objection to this plan. If the total amount of the claim exceeds the value of collateral, as indicated in the creditor’s
 timely filed proof of claim or a court order, the deficiency will be treated as a Class 7 general unsecured claim (or a Class 5 claim if
 the claim is entitled to priority). If the creditor does not complete the space for the value of the collateral on the face of the proof of
 claim, the creditor will have no deficiency claim. Entry of the order confirming this plan will terminate the automatic stay under 11
 U.S.C. § 362(a) and the codebtor stay under 11 U.S.C. § 1301(a) as to the Debtor, codebtor(s), and the bankruptcy estate, to permit
 the creditor whose collateral is being surrendered to receive, repossess, or foreclose upon that collateral and to exercise its rights and
 remedies as to its collateral under applicable nonbankruptcy law.
                             Class 3 Creditor/Collateral                                                    Claim amount                       Est. deficiency
 -NONE-
 [Continue in section 8 or on continuation sheet as necessary.]

 4.04 Class 4 consists of secured claims where (a) Debtor was not in default on the petition date and (b) the rights of the holder
 are not modified by this plan. A holder of a Class 4 claim will retain its lien until the underlying debt is paid in full under
 nonbankruptcy law. Debtor shall make all regularly scheduled contractual payments coming due postpetition. In the event that a
 creditor files a timely proof of claim stating that there was an arrearage on the petition date for a claim identified below, the claim
 shall be treated as a Class 1 claim unless the court determines that there was no arrearage. If the proof of claim states that the
 arrearage amount is $0.00, none, or the like, or if the arrearage amount is left blank, such claim shall be treated as a Class 4 claim and
 Trustee shall make no distribution on the claim.
                             Class 4 Creditor/Collateral                                                Contractual payment                    Maturity date
 Mb Fin Svcs/2007 Mercedes C-230 (60,000 miles)                                                                              $277.00
 [Continue in section 8 or on continuation sheet as necessary.]

 4.05 Class 5 consists of unsecured claims entitled to priority under 11 U.S.C. § 507, such as domestic support obligations and
 certain types of taxes. Class 5 claims shall be paid in full unless 11 U.S.C. § 1322(a)(4) applies or the claim holder agrees to accept
 less than full payment. If the Debtor proposes less than full payment of a priority claim, section 8 must identify the claim holder and
 describe the proposed treatment. Debtor shall pay directly to the creditor any domestic support obligations that become due on and
 after the date of filing the petition.
                                     Class 5 Creditor                                                      Type of priority                  Est. claim amount
 Department of Taxation                                                                               Taxes and certain other                                $1,480.36
                                                                                                                       debts
 Department of Taxation                                                                               Taxes and certain other                                    $686.00
                                                                                                                       debts
 Internal Revenue Service                                                                             Taxes and certain other                                $1,600.00
                                                                                                                       debts
 [Continue in section 8 or on continuation sheet as necessary.]

 4.06 Class 6 consists of special unsecured claims. The claims listed below, such as co-signed unsecured debts, shall be paid in full,
 with interest if so indicated, for the reason(s) stated even though other unsecured claims may not be paid in full.
                        Class 6 Creditor                                   Reason for special treatment                    Interest          Est. claim amount
 -NONE-
 [Continue in section 8 or on continuation sheet as necessary.]

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 4.07 Class 7 consists of claims that are not secured and that are not entitled to priority or special treatment. Class 7 claims
 shall be paid pro rata to the extent funds are available after payment of all other claims. Debtor must file a separate Motion to Avoid
 Lien if classification of a claim as a general unsecured claim is based on avoidance of a judicial lien or nonpossessory, non-purchase
 money security interest under 11 U.S.C. § 522(f).
 4.08 Executory Contracts and Unexpired Leases. Upon confirmation, Debtor assumes the executory contracts and unexpired
 leases listed below. Any prepetition arrearage under a contract or lease identified below in an amount stated in a timely filed proof of
 claim shall be treated as a claim in Class 1, Class 6, or as provided in section 8. Any other executory contract or unexpired lease is
 rejected. Entry of the confirmation order modifies the automatic stay to allow the nondebtor party to a rejected unexpired lease to
 obtain possession of the leased property.
                                                                                                                                     Treatment: Class 1 or 6 or
                          Creditor under contract or lease                                           Est. prepetition arrerage                 other
 -NONE-
 [Continue in section 8 or on continuation sheet as necessary.]
                                                                      SECTION 5 – DISTRIBUTIONS
 5.01 Order of Distributions. As soon as practicable after plan confirmation, Trustee will distribute funds monthly in the following
 order: (a) the percentage fee to Trustee under 28 U.S.C. § 586(e); (b) any maintenance payments due on Class 1 claims under section
 4.01-3; (c) administrative expenses, including Debtor’s attorney fees allowed under applicable rules and guidelines; (d) cure
 payments for prepetition arrearages on Class 1 claims, Class 2 claims of secured creditors under 11 U.S.C. § 1325(a)(5), claims under
 executory contracts and unexpired leases if designated as Class 1 claims, and compensation for a chapter 7 trustee under 11 U.S.C. §
 1326(b)(3); (e) Class 5 priority unsecured claims; (f) Class 6 special unsecured claims, including claims under executory contracts
 and unexpired leases designated as Class 6 claims; and (g) Class 7 general unsecured claims. Within each level of distribution, claims
 shall be paid on a pro rata basis.
                                             SECTION 6 -- LIQUIDATION ANALYSIS
 6.01 Liquidation. The value, as of the date the petition was filed, of property to be distributed under the plan on account of each
 allowed unsecured claim is not less than the amount that would be paid on such claim if the estate were liquidated on such date under
 chapter 7 of the Bankruptcy Code. Debtor estimates, in good faith, that liquidation would be as follows.
 1. Real property - Schedule A                                    $       778,320.00             5. Exemptions - Schedule C                     $       14,710.00

                                                                                                 6. Secured claims (less unsecured portions,
 2. Personal property - Schedule B                                $         17,710.00                                                           $     781,320.00
                                                                                                 if any) - Schedule D

 3. Property recoverable by avoiding powers                       $                 0.00         7. Priority claims - Schedule E                $        3,766.36

 4. Total assets - Add boxes 1,2,3                                $       796,030.00             8. Estimated chapter 7 administrative          $               0.00
                                                                                                 expenses
                           * intentionally left blank *                                          9. Total adjustments - Add boxes 5,6,7,        $     799,796.36
                                                                                                 and 8
 10. Amount available to pay general unsecured claims in liquidation - Subtract Box 9 from Box 4                                                $       -3,766.36

 11. Total amount of general unsecured debt from Schedule F + unsecured portions from Schedule D, if any                                        $     259,599.38

 12. Estimated distribution on general unsecured claims in liquidation - Divide Box 10 by Box 11                                                       -1.45       %

 13. Estimated distribution on general unsecured claims through this plan                                                                                 4        %

                                                      SECTION 7 -- MISCELLANEOUS PROVISIONS
 7.01 Joint Debtor. Any reference to the Debtor in this plan includes the Joint Debtor, if any.
 7.02 Debtor’s Duties. Debtor acknowledges that Debtor must: (a) make timely plan payments and carry out this plan; (b) comply
 with Debtor’s obligations under the Bankruptcy Code and Rules, the Local Bankruptcy Rules, and any applicable local orders and
 guidelines; (c) file all postpetition federal, state, and local tax returns, and pay all postpetition taxes as they come due, including, if
 applicable, any requisite estimated income taxes and/or federal tax deposits for payroll taxes; (d) submit to Trustee a copy of each
 tax return or amendment thereof required for each tax year ending while the case is pending under chapter 13, immediately after
 filing such returns with the taxing authority; (e) file, if requested, updated schedules I and J or other statement made under penalty
 of perjury showing monthly income of Debtor, and how income, expenditures, and monthly income are calculated, on each
 anniversary of plan confirmation; (f) provide any financial information requested by Trustee, including that regarding a business;
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 (g) maintain insurance as required by any law, contract, or security agreement on all vehicles and real or personal property subject
 to a security interest in the amount of the outstanding claim of the creditor or value of the collateral, whichever is less, unless the
 court orders otherwise; (h) if Debtor operates a business, maintain liability and other insurance as requested by Trustee; (i) pay
 timely to the court-ordered recipient all domestic support obligations that come due after commencement of the case; (j) obtain
 court approval before encumbering, selling, or otherwise disposing of any personal or real property other than in the ordinary
 course of Debtor’s business; and (k) obtain written approval from Trustee or court approval before incurring any new debt
 exceeding $1,000. Debtor understands that failure to comply with any of these obligations may justify dismissal of this case,
 conversion to another chapter, or other relief.
 7.03 Interest Rate. The standard interest rate on certain claims is calculated periodically as the national prime rate of interest plus
 1.5% and is posted at the court’s website. The interest rate with respect to a tax claim or an administrative expense tax is governed
 by 11 U.S.C. § 511.
 7.04 Vesting and Possession of Property. Except to the extent necessary to fund this plan, property of the estate shall revest in
 Debtor upon entry of the confirmation order. If the case is converted to a case under another chapter, or is dismissed, the property
 of the estate shall vest in accordance with applicable law.
 7.05 Cure Payments for Prepetition Arrearages. For all purposes, including but not limited to 12 U.S.C. § 2601 et seq., and
 Reg. X ("Regulation X"), 24 C.F.R. § 3500.17(i)(2), all claims shall be deemed reinstated and current upon the entry of an order
 confirming this plan. No creditor shall be excused from any obligation imposed by law or contract to provide notices of payment
 changes, interest rate changes, escrow account statements, other account statements, or similar information to the Debtor. All
 creditors shall promptly file copies of such notices and statements with the court.
 7.06 Postpetition Obligations Paid Directly by Debtor. If this plan provides that Debtor will directly pay any postpetition
 obligations to a creditor, any postpetition fees, expenses, or charges, including those alleged to be due under Bankruptcy Rule
 3002.1(a), (c), or (e), are the personal responsibility of Debtor and, unless the court orders otherwise, these postpetition fees,
 expenses, or charges shall not be paid by Trustee or through the plan.
 7.07 Effect of Relief from Stay. As soon as practicable after Trustee receives notice of an order unconditionally permitting a
 secured creditor to foreclose on or repossess its collateral, Trustee shall cease making distributions on all claims secured by such
 collateral except for funds then being held by Trustee for distribution, unless the court orders otherwise. This does not affect the
 number or amount of periodic payments due from Debtor under the plan.
 7.08 Lack of Feasibility Based on Claims Actually Filed. Trustee may file a motion to dismiss if Trustee determines that, based
 on the timely filed proofs of claim, the plan funding will be insufficient to pay in full, within 60 months from confirmation,
 administrative expenses, the prepetition arrearages on Class 1 claims, and the full amount of Class 2, Class 5, and Class 6 claims,
 and the amount of Class 7 claims required to satisfy 11 U.S.C. § 1325(a)(4). The court may dismiss the case without further notice
 if Debtor fails to file, within 30 days after the date of notice of such motion, an objection to claim or a motion to modify the
 confirmed plan which will cure the problem.
 7.09 Conversion or Dismissal. Debtor agrees that, if this case is converted to another chapter, Debtor shall promptly file a new
 schedule C – Property Claimed as Exempt. Trustee shall distribute any plan payments held by Trustee at the time of conversion or
 dismissal of the case to holders of allowed claims in accordance with the order of distribution under this plan.
 7.10 Student Loan Debt. A debt of the kind specified in 11 U.S.C. § 523(a)(8) will not be discharged upon completion of the
 plan unless the debtor has obtained a determination by the court that paying the debt in full would impose an undue hardship on the
 debtor and the debtor's dependent.
 7.11 Certification. Debtor declares, under penalty of perjury, that this plan has been proposed in good faith, that the information
 provided in this plan is true and correct to the best of Debtor’s knowledge, information, and belief, and that Debtor will be able to
 make all plan payments and otherwise comply with all plan provisions.
                                          SECTION 8 -- ADDITIONAL PROVISIONS
 Debtor may not alter the language of this form (other than by completing blanks and tables). Debtor may propose additional or
 different plan provisions only by setting the same out in this section. This section must also include information concerning
 additional creditors or claims, irregular plan payments, additional sources of plan funding, special treatment of prepetition
 arrearages under an executory contract or unexpired lease, and any other special provisions. (Attach additional pages as necessary.)

 Irregular Payments:
  $500.00 per month for 12 months, then $4,700.00 per month for 48 months
 /s/ Lars Peterson                        /s/ Ruben Ulep Ambrocio                                                            /s/ Judy Acoba Ambrocio
 Attorney for Debtor(s)                                        Debtor                                                        Joint Debtor (if any)
 Dated: September 16, 2014                                     Dated: September 16, 2014                                     Dated: September 16, 2014



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